                               NO. 07-10-0067-CR

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                                AUGUST 10, 2010

                        ______________________________


                          RICHARD KRAWECKI, APPELLANT

                                      V.

                         THE STATE OF TEXAS, APPELLEE


                       _________________________________

                FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;

                  NO. 53,586-D; HONORABLE DON EMERSON, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
Pending before this Court is Richard Kraweckis Motion to Dismiss Appeal in which he moves to withdraw his notice of appeal.  As required by Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by Appellant's attorney; however, it is not signed by Appellant.  Notwithstanding the lack of Appellant's signature, the motion is accompanied by a letter from Appellant to his counsel bearing his signature expressing his desire to withdraw his appeal.  Based on Appellant's clear intention, we apply Rule 2 of the Texas Rules of Appellate Procedure and suspend that portion of Rule 42.2(a) requiring Appellant's signature on the Motion to Dismiss.  No decision of this Court having been delivered, the motion is granted and the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.
Accordingly, the appeal is dismissed.
							Patrick A. Pirtle
							      Justice
Do not publish.
